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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK


 LONG ISLAND ROLLER REBELS,

                    Plaintiff,

       v.                                             Case No. 2:24-cv-02721 (ARR/LGD)


 BRUCE BLAKEMAN in his official capacity
 as NASSAU COUNTY EXECUTIVE, and
 COUNTY OF NASSAU,

                    Defendants.



                    MEMORANDUM OF LAW IN SUPPORT OF
               PLAINTIFF’S MOTION TO REMAND TO STATE COURT




                                            NEW YORK CIVIL LIBERTIES UNION
                                                FOUNDATION

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         Plaintiff Long Island Roller Rebels (the “Roller Rebels”) moves this Court to remand this

 case back to New York State Supreme Court, Nassau County for further proceedings and to order

 Defendants (“Nassau County”) to pay the Roller Rebels’ just costs and attorney’s fees incurred as

 a result of its improper removal. See 28 U.S.C. § 1447(c).

                                    FACTUAL BACKGROUND

         This case arises from an executive order issued by Nassau County Executive Bruce

 Blakeman that purports to categorically ban transgender women and girls from participating in

 women’s and girls’ sports at publicly-run facilities. On March 11, 2024, the Roller Rebels, a

 women’s roller derby league that welcomes and includes transgender women, filed this case as

 an Article 78 petition in New York state court and moved for a preliminary injunction enjoining

 Nassau County from enforcing Executive Order 2-2024 (the “Order”). Specifically, the Roller

 Rebels assert that Nassau County’s determination in enacting and enforcing the Order was

 “affected by an error of law,” N.Y. C.P.L.R. 7803(2), because the Order violates the statutory

 provisions of the New York State Human Rights Law and the New York Civil Rights Law

 section 40-c, which squarely prohibit discrimination on the basis of gender identity. See ECF 1-1.

 The Roller Rebels assert only these two causes of action, both of which turn on allegations of

 state, not federal, statutory violations.

         On March 14, the parties appeared before the state court and agreed to a briefing schedule

 and preliminary injunction hearing date of April 15 at 10:30 a.m. See ECF 1-25. Nassau County

 filed an answer and brief opposing the preliminary injunction request on April 4. See ECF 1-26,

 1-27. The Roller Rebels filed their reply brief in support of their preliminary injunction request

 on April 9. See ECF 1-28. On April 10, Nassau County filed an “amended answer” asserting a

 federal counterclaim or affirmative defense that was not contemplated by the state court

 schedule. See ECF 1-32. The “amended answer” asserts affirmative defenses grounded in the
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 Equal Protection Clause of the federal constitution, see id. at 9–19, and purports to raise a

 “counterclaim” seeking a declaration that the New York State Human Rights Law and Civil

 Rights Law, as applied to the Executive Order, “violate[] the Equal Protection Clause of the

 Fourteenth Amendment to the United States Constitution” and should be “enjoined,” id. at 19–

 20. 1 The Roller Rebels objected to Nassau County’s improper “amended answer” on April 11.

 See ECF 1-33.

          Later on the afternoon of April 11, Nassau County filed its Notice of Removal in this

 Court, arguing that removal is proper because “this action raises a federal question under 28

 U.S.C. § 1331 and the claims and counterclaims alleged arise under the Constitution and laws of

 the United States.” ECF 1 at ¶ 3. Nassau County also sought to have this action related to the

 then-pending action in Blakeman v. James, Case No. 2:24-cv-01655. See ECF 1 at ¶ 6. Nassau

 County’s removal action was filed close to the eve of the preliminary injunction hearing—and

 ultimately resulted in its cancellation—seemingly in an attempt to delay that hearing and an

 expedited resolution of the Roller Rebels’ pending request to begin using Nassau County athletic

 facilities in mid-April.

                                                    ARGUMENT

          The face of the Roller Rebels’ well-pleaded petition raises no federal question because all

 of the claims expressly arise under state law. The only basis for federal jurisdiction Nassau

 County asserts is its defense or counterclaim, which, as clear Supreme Court precedent

 establishes, cannot create federal jurisdiction. Because any reasonable inquiry or investigation




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   The Roller Rebels note that what Nassau County characterizes as a “counterclaim” appears to be a restatement of
 its affirmative defense and not a proper claim at all, since of course the Roller Rebels are not a state actor and have
 no ability to “violate[] the Equal Protection Clause.” See ECF 1-32 at 20. However, because counterclaims and
 affirmative defenses are equally insufficient bases on which to claim federal removal jurisdiction, remand is
 appropriate regardless. See infra at 3–6.

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 into the applicable law would have alerted Nassau County to the black-letter law precluding

 removal here, see Four Keys Leasing & Maint. Corp. v. Simithis, 849 F.2d 770, 774 (2d Cir.

 1988), the Roller Rebels are entitled to attorney’s fees and costs for this objectively unreasonable

 removal action.

  I.     This Court Should Immediately Remand This Action Because Counterclaims or
         Defenses Cannot Give Rise to Federal Jurisdiction.

         A defendant may remove a state court civil action to federal court when “the district

 courts of the United States have original jurisdiction.” 28 U.S.C. § 1441(a). The federal court

 must remand the case to state court if, “at any time . . . it appears that the district court lacks

 subject matter jurisdiction.” 28 U.S.C. § 1447(c). Where, as here, the parties are not diverse,

 removal is proper only if the case falls within the district court’s original federal-question

 jurisdiction. 28 U.S.C. § 1331 (creating federal jurisdiction for claims “arising under the

 Constitution, laws, or treaties of the United States”); see Franchise Tax Bd. of State of Cal. v.

 Constr. Laborers Vacation Tr. for S. California, 463 U.S. 1, 8 (1983) (“[T]he propriety of

 removal turns on whether the case falls within the original ‘federal[-]question’ jurisdiction of the

 United States district courts.”).

         “Whether or not a cause of action arises under federal law is governed by the well-

 pleaded complaint rule, which provides that federal jurisdiction exists only when a federal

 question is presented on the face of the plaintiff's properly pleaded complaint.” Leroy v. Hume,

 554 F. Supp. 3d 470, 476 (E.D.N.Y. 2021) (Ross, J.), aff’d, No. 21-2158, 2023 WL 2928353 (2d

 Cir. Apr. 13, 2023) (quoting Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987) (cleaned up);

 see also Gregorian v. New York Life Ins. Co., No. 07-cv-5210, 2009 WL 179217, at *3 (E.D.N.Y.

 Jan. 26, 2009) (“[T]he plaintiff’s complaint itself establishes whether the cause of action arises

 under federal law.”). “A case may not be removed to federal court on the basis of a federal


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 defense . . . even if the defense is anticipated in the plaintiff’s complaint.” Leroy, 554 F. Supp. 3d

 at 476 (cleaned up).

        As the Supreme Court has explained, “[t]he rule makes the plaintiff the master of the

 claim,” and “he or she may avoid federal jurisdiction by exclusive reliance on state law.”

 Caterpillar, Inc., 482 U.S. at 392. “On a motion for remand, the removing party bears the burden

 of demonstrating the jurisdictional basis for removal . . . and the court construes all factual

 allegations in favor of the party seeking the remand.” Gregorian, 2009 WL 179217, at *3

 (cleaned up). “[I]t is well established that removal jurisdiction must be strictly construed, both

 because the federal courts are courts of limited jurisdiction and because removal of a case

 implicates significant federalism concerns.” Id. (cleaned up).

        In Holmes Group, Inc. v. Vornado Air Circulation Systems, Inc., the Supreme Court made

 clear that “a counterclaim . . . cannot serve as the basis for ‘arising under’ jurisdiction.” 535 U.S.

 826, 831 (2002). It also “decline[d] to transform the longstanding well-pleaded-complaint rule

 into the ‘well-pleaded-complaint-or-counterclaim rule’” because doing so would “contravene the

 longstanding policies underlying [its] precedents.” Id. at 832 (emphasis in original). The

 Supreme Court and courts in this circuit have repeatedly reaffirmed this basic rule that

 counterclaims or defenses cannot serve as the basis for federal jurisdiction. See, e.g., Vaden v.

 Discover Bank, 556 U.S. 49, 70 (2009) (“[F]ederal jurisdiction cannot be invoked on the basis of

 a defense or counterclaim.”); Sullivan v. American Airlines, 424 F.3d 267, 271 (2d Cir. 2005)

 (“[I]n assessing subject-matter jurisdiction, a federal court must disregard allegations that a well-

 pleaded complaint would not include—e.g., allegations about anticipated defenses.”); MTI

 Residential Servs. v. Alston, No. 07-cv-2002, 2007 WL 1695161, at *3 (E.D.N.Y. May 31,




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 2007) (“The federal nature of respondents’ defense and counterclaim is not sufficient to confer

 jurisdiction on this Court for purposes of removal.”). 2

          The Roller Rebels’ petition does not in any way seek relief under any federal statute or

 the United States Constitution. See ECF 1-1 at 16–17 (identifying first cause of action for

 “Violation of New York State Human Rights Law, Executive Law § 296,” and second cause of

 action for “Violation of New York Civil Rights Law § 40-c”); see also Powell v. Delta Airlines,

 145 F. Supp. 3d 189, 197 (E.D.N.Y. 2015) (finding complaint failed to establish federal question

 jurisdiction because plaintiff asserted claims only under New York State Human Rights Law).

 The removal analysis ends there.

          Nassau County’s contention that “the claims and counterclaims alleged arise under the

 Constitution and laws of the United States,” ECF 1 at ¶ 3, are therefore based solely on the

 constitutional arguments referenced in the affirmative defenses and counterclaims of their

 “amended answer,” see ECF 1-32 at 9–20. But Nassau County offers no case law supporting the

 argument that these defenses and counterclaims can form the basis for federal jurisdiction—

 because there is none.

          The Roller Rebels, as the petitioner in the state court action, are the “master of the

 complaint,” who have chosen to have their claim be heard in state court “by eschewing claims




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   See also Beneficial Nat’l Bank v. Anderson, 539 U.S. 1, 2 (2003) (“Potential defenses . . . do not provide a basis for
 removal.”); 180A Rockaway Ave., LLC v. Caulker, No. 22-cv-1058, 2022 WL 2467627, at *2 (E.D.N.Y. Apr. 14,
 2022) (“[A] defendant’s counterclaims cannot serve as the basis for federal jurisdiction.”); Est. of Kelly v. Gagliano,
 No. 13-cv-6077, 2014 WL 950050, at *1–2 (E.D.N.Y. Mar. 11, 2014) (“Defenses based on federal law do not
 authorize removal to federal court.”); Est. Examinations Co. v. ECG Enterprises, Inc., No. 06-cv-3024, 2006 WL
 3248003, at *3 (E.D.N.Y. Nov. 7, 2006) (finding counterclaim is insufficient to establish “arising under”
 jurisdiction); JP Morgan Chase Bank, N.A. v. Hunter Grp., Inc., No. 10-cv-00917, 2010 WL 5313547, at *4
 (E.D.N.Y. Dec. 20, 2010) (“counterclaims cannot form the basis for federal jurisdiction”); Town of Southold v. Go
 Green Sanitation, Inc., 949 F. Supp. 2d 365, 371 (E.D.N.Y. 2013). (“Any federal question is only properly raised by
 the Defendants in their Answer including Counterclaims . . . [and] those federal questions are not part of the original
 cause of action.”).


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 based on federal law.” See Holmes Group, 535 U. S. at 831. In its removal papers, Nassau

 County puts forth the exact position rejected by the Supreme Court in Holmes Group. This

 position would allow Nassau County, as a defendant, “to remove a case brought in state court

 under state law, thereby defeating a plaintiff's choice of forum, simply by raising a federal

 counterclaim.” Id. To the extent that Nassau County argues that this counterclaim can form the

 basis for federal court jurisdiction because it labels itself as the counterclaim “plaintiff,” ECF 1-

 32, this too is precluded by this same well-established precedent.

        Because this Court lacks subject matter jurisdiction as no federal causes of action appear

 on the face of the Roller Rebels’ well-pleaded petition, this Court must remand this case.

 II.    Plaintiff is Entitled to Attorney’s Fees and Costs Because Defendants’ Removal
        Action is Objectively Unreasonable.

        Nassau County’s commencement of this removal action solely on the basis of a

 counterclaim or defense in the face of overwhelming precedent precluding such removal actions

 is objectively unreasonable, and therefore the Roller Rebels are entitled an award of attorney’s

 fees and costs. “An order remanding [a] case may require payment of just costs and any actual

 expenses, including attorney fees, incurred as a result of removal.” 28 U.S.C. § 1447(c). The

 “standard for awarding fees . . . turn[s] on the reasonableness of the removal” and permits fees

 “where the removing party lacked an objectively reasonable basis for seeking removal.” Martin

 v. Franklin Cap. Corp., 546 U.S. 132, 141 (2005).

        Here, where there is binding precedent that counterclaims or defenses cannot serve as the

 basis for “arising under” jurisdiction, see supra at 3–6, and where the lack of federal jurisdiction

 is obvious from the face of the Roller Rebels’ well-pleaded petition, see ECF 1-1, Nassau County

 lacked an objectively reasonable basis for seeking removal. In Calabro v. Aniqa Halal Live

 Poultry Corp., the Second Circuit affirmed an attorney’s fees award because the defendant’s


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 reason for removal was “objectively unreasonable” since the plaintiff’s well-pleaded complaint

 only raised a state cause of action under the New York State Civil Rights Law §§ 50 and 51, and

 “it is well established that a defendant may not evade [the well-pleaded-complaint] rule by

 raising a federal question in its responsive pleadings and then attempting to remove on that

 basis.” 650 F.3d 163, 166 (2d Cir. 2011). See also Four Keys Leasing & Maint. Corp. v. Simithis,

 849 F.2d 770, 774 (2d Cir. 1988) (finding district court’s imposition of Rule 11 sanctions in the

 form of attorney’s fees was appropriate and imposing additional attorney’s fees sanctions

 because any “competent attorney” who had conducted a “reasonable inquiry into the applicable

 law and the facts and procedural history” of that removal action “would have known that there

 was no justification whatever” for its removal since there was no federal claim on the face of the

 well-pleaded complaint); Frontier Park Co., LLC v. Contreras, 35 F. Supp. 3d 264, 273

 (E.D.N.Y. 2014) (ordering respondents to pay fees and costs where respondents “plainly fail[ed]

 to satisfy the ‘well-pleaded complaint’ rule,” and “asserted no colorable basis for federal

 jurisdiction”). 3 As in Calabro, Nassau County attempts to remove this action by raising a federal

 question in its responsive pleadings where the Roller Rebels have only brought state law claims.

          Indeed, Nassau County itself has been the plaintiff opposing removal in litigation clearly

 stating that “a defense . . . cannot be a basis for federal jurisdiction” and “federal jurisdiction

 does not exist simply because a state law claim may implicate a federal issue.” See County of



 3
   See also First Horizon Home Loans v. Doost, No. CV09-1906, 2009 WL 3756523, at *4 (D. Ariz. Nov. 9, 2009)
 (granting plaintiff’s request for Rule 11 sanctions and attorney’s fees where removal was frivolous because
 “adequate legal research would have revealed that counterclaims cannot serve as the basis for federal question
 jurisdiction”); Mortg. Elec. Registration Sys., Inc. v. Malugen, No. 6:11-cv-2033-ORL-22, 2012 WL 1382265, at
 *9–10 (M.D. Fla. Apr. 3, 2012), R. & R. adopted, No. 6:11-cv-2033-ORL-22, 2012 WL 1382991 (M.D. Fla. Apr. 20,
 2012) (granting fees award and imposing Rule 11 sanctions because “[i]n light of the well-established law . . . any
 meaningful inquiry or investigation would have alerted [defendants’ attorney] to the fact that asserting federal claims
 in a counterclaim is not a proper basis of removal”); Fosnocht v. Demko, 438 F. Supp. 2d 561, 565 (E.D. Pa. 2006)
 (awarding attorney’s fees in removal action where “[e]ven a cursory examination of the rules governing removal and
 federal question jurisdiction would have revealed that the instant suit does not qualify for either”).

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 Nassau v. New York, 724 F.Supp.2d 295, 301–02 (E.D.N.Y. 2010). In that case, Nassau County

 argued that remand was appropriate because “a reading of the plain language of the County’s

 Complaint confirms [that] the County’s claims are based entirely upon application of New York

 Law, and raise no federal claims whatsoever.” County of Nassau v. State of New York, Pls.’ Mem.

 of Law in Supp. of Mot. to Remand, 2010 WL 11601123 (E.D.N.Y.) (emphasis in original).

 Clearly, the basic law of removal jurisdiction is well-known to Nassau County.

           Additionally, while a showing of bad faith is not necessary to award attorney’s fees and

 costs under 28 U.S.C. § 1447(c), see Morgan Guar. Trust Co. of New York v. Republic of Palau,

 971 F.2d 917, 923 (2d Cir. 1992), here, there are several factors that raise significant concern.

 First, the filing of Nassau County’s improper removal action occurred on the eve of the parties’

 long-scheduled preliminary injunction hearing—and resulted in its cancellation—in this action

 where the Roller Rebels are seeking expedited relief and indeed have an active pending permit

 request for the use of Nassau County facilities beginning in mid-April and for a series of future

 dates. See ECF 1-1 at ¶ 65; see also Fosnocht v. Demko, 438 F. Supp. 2d 561, 565 (E.D. Pa.

 2006) (finding “removal amounted to a bad-faith effort to delay state court proceedings

 scheduled to occur within days of the notice of removal’s filing”). Second, the combination of

 Nassau County’s removal action and the corresponding request to relate this case to the then-

 pending action in Blakeman v. James, Case No. 2:24-cv-01655, see ECF 1 at ¶ 6, creates the

 appearance of a possible attempt to implicate potential recusal for the judge assigned to that

 case. 4




 4
   Nassau County Executive Bruce Blakeman has referred to Judge Nusrat Choudhury as “a federal judge with a
 background as a Civil Liberties Union lawyer.” See Tim Balk, Judge dismisses Nassau County suit against AG Tish
 James centered on trans sports ban, NY DAILY NEWS, Apr. 12, 2024,
 https://www.nydailynews.com/2024/04/12/judge-dismisses-nassau-county-suit-against-ag-tish-james-centered-on-
 trans-sports-ban/.

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          Accordingly, after remand is immediately ordered, this Court should order Nassau

 County to pay attorney’s fees and costs incurred by the Roller Rebels as a result of this

 objectively unreasonable removal action. 5

                                                   CONCLUSION

          For all these reasons, this Court should immediately remand this case to Nassau County

 Supreme Court in its entirety and award the Roller Rebels attorney’s fees and costs.



     Dated: April 18, 2024                                      Respectfully Submitted,
            New York, N.Y.
                                                                NEW YORK CIVIL LIBERTIES UNION
                                                                    FOUNDATION

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                                                                Counsel for Plaintiff




 5
   “A federal district court retains jurisdiction to decide a motion for fees and costs under 28 U.S.C. § 1447(c) after it
 has remanded a case to state court.” Calabro v. Aniqa Halal Live Poultry Corp., No. 09-cv-4859, 2009 WL 4893200,
 at *3 (E.D.N.Y. Dec. 15, 2009) (citing Bryant v. Britt, 420 F.3d 161 (2d Cir. 2005) (finding district court also retains
 jurisdiction to resolve issue of Rule 11 sanctions)).

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